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                 EXHIBIT 2
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Patrick Schmidt

From:                                              Amy Craig <amy@ramsey-ehrlich.com>
Sent:                                              Thursday, May 11, 2017 9:08 AM
To:                                                Patrick Schmidt
Cc:                                                Jordan Jaffe; Miles Ehrlich; Ismail Ramsey; QE-Waymo; Neel Chatterjee; Brett Schuman;
                                                   Rachel Walsh
Subject:                                           RE: Levandowski Production


Patrick –

In keeping with our commitments, we are continuing to review Mr. Levandowski’s materials for responsive, non-
privileged materials. Since I last emailed with you on Tuesday night, we have identified and prepared another batch of
documents to produce to you. I expect to be able to upload that production to you by close of business today.

I appreciate your desire for expediency. As you can imagine, we are going through quite a lot of materials to make sure
we capture everything that is responsive and non-privileged, in order to produce it to you.

We are happy to participate in a meet and confer if you have additional concerns. We have only spoken once before,
and I understood the purpose of that meet-and-confer was for you to get an update on the timing of our
production. We have since produced additional documents, and plan to make another production today.

I don’t see the need to engage in unnecessary motion practice, particularly given the many other deadlines in this
litigation, but, as always, we are happy to meet and confer to see if we assuage any concerns you may have.

Best regards,

Amy

Amy E. Craig | Ramsey & Ehrlich LLP | 803 Hearst Avenue | Berkeley, CA 94710 | Tel: (510) 548-3600 |
Fax: (510) 291-3060 | amy@ramsey-ehrlich.com | www.ramsey-ehrlich.com

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From: Patrick Schmidt [mailto:patrickschmidt@quinnemanuel.com]
Sent: Thursday, May 11, 2017 8:22 AM
To: Amy Craig <amy@ramsey-ehrlich.com>
Cc: Jordan Jaffe <jordanjaffe@quinnemanuel.com>; Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey
<izzy@ramsey-ehrlich.com>; QE-Waymo <qewaymo@quinnemanuel.com>; Neel Chatterjee
<NChatterjee@goodwinlaw.com>; Brett Schuman <BSchuman@goodwinlaw.com>; Rachel Walsh
<RWalsh@goodwinlaw.com>
Subject: RE: Levandowski Production


Amy—

In your message below, you committed that you would advise yesterday (May 10th) whether Mr. Levandowski had
additional responsive, non-privileged documents to produce. Yet, we have heard nothing.

Unfortunately, this is part of Mr. Levandowski’s continued pattern of discovery misconduct in this case. As you know,
Mr. Levandowski was ordered to produce all responsive documents in advance of his deposition on April 14th. Mr.
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Levandowski never sought relief from that order or modification of the production schedule. Instead, he simply violated
Judge Alsup’s order, and as a result, we did not receive Mr. Levandowski’s first production until April 24th. When we
met and conferred on April 27th, you agreed that Mr. Levandowski would make his final production by May 2nd so that
it would be available to us in advance of the hearing on our motion for preliminary injunction. But, once again, we did
not receive that production as promised. Instead, you delayed until May 9th to make a further production, and to date
we are still unclear as to whether any further responsive documents remain outstanding.

Additionally, your message below that you are updating Mr. Levandowski’s privilege log shows that he violated that
aspect of the Court’s order as well. Mr. Levandowski was required to submit a fulsome log, detailing all documents that
were being withheld on the basis of the Fifth Amendment by April 19th. Again, Mr. Levandowski never sought or
obtained relief from that Order.

Given these repeated failures to comply with the Court’s Order we will bringing a motion for an order to show
cause. We have now met and conferred by phone and email several times without success and these issues are now
ripe for consideration by the Court.


Patrick Schmidt
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From: Amy Craig [mailto:amy@ramsey-ehrlich.com]
Sent: Tuesday, May 09, 2017 6:09 PM
To: Patrick Schmidt <patrickschmidt@quinnemanuel.com>
Cc: Jordan Jaffe <jordanjaffe@quinnemanuel.com>; Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey
<izzy@ramsey-ehrlich.com>; QE-Waymo <qewaymo@quinnemanuel.com>; Neel Chatterjee
<NChatterjee@goodwinlaw.com>; Brett Schuman <BSchuman@goodwinlaw.com>; Rachel Walsh
<RWalsh@goodwinlaw.com>
Subject: RE: Levandowski Production

Patrick –

Thank you for sending the link. We used it to upload Mr. Levandowski’s third production earlier today. I am working to
confirm whether this completes Mr. Levandowski’s production of responsive material. I will know by tomorrow, and will
update you. If we determine there are any additional responsive, non-privileged documents to produce, we will get
them to you by the end of the week. We are also updating our privilege log as necessary, and will provide the court with
any revisions.


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Best regards,

Amy

Amy Craig
Ramsey & Ehrlich LLP
510-548-3600
amy@ramsey-ehrlich.com

From: Patrick Schmidt [mailto:patrickschmidt@quinnemanuel.com]
Sent: Tuesday, May 9, 2017 2:04 PM
To: Amy Craig <amy@ramsey-ehrlich.com>
Cc: Jordan Jaffe <jordanjaffe@quinnemanuel.com>; Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey
<izzy@ramsey-ehrlich.com>; QE-Waymo <qewaymo@quinnemanuel.com>; Neel Chatterjee
<NChatterjee@goodwinlaw.com>; Brett Schuman <BSchuman@goodwinlaw.com>; Rachel Walsh
<RWalsh@goodwinlaw.com>
Subject: RE: Levandowski Production

Amy,

I will send a link that you can use to upload the production under separate cover.

In the meantime, can you please explain the reason for the delay? We were expecting this production early last
week. Also, does this complete Mr. Levandowski’s production of responsive material, or do you expect to make further
productions? If you expect to make further productions, when can we expect those? Finally, we assume you are logging
additional privileged documents that you have uncovered since your April 19th submission to the Court. Will you be
producing that log?

Thank you,


Patrick Schmidt
Associate
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213-443-3191 Direct
213-443-3000 Main Office Number
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From: Amy Craig [mailto:amy@ramsey-ehrlich.com]
Sent: Tuesday, May 09, 2017 1:38 PM
To: Patrick Schmidt <patrickschmidt@quinnemanuel.com>
Cc: Jordan Jaffe <jordanjaffe@quinnemanuel.com>; Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey
<izzy@ramsey-ehrlich.com>; QE-Waymo <qewaymo@quinnemanuel.com>; Neel Chatterjee
<NChatterjee@goodwinlaw.com>; Brett Schuman <BSchuman@goodwinlaw.com>; Rachel Walsh

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<RWalsh@goodwinlaw.com>
Subject: RE: Levandowski Production

Patrick –

We have a production ready to send to you. I will have it uploaded to your site shortly. My apologies for the delay. If
you still want to meet and confer after reviewing the production, let me know and we can provide you with our
availability.

Best regards,

Amy

Amy E. Craig | Ramsey & Ehrlich LLP | 803 Hearst Avenue | Berkeley, CA 94710 | Tel: (510) 548-3600 |
Fax: (510) 291-3060 | amy@ramsey-ehrlich.com | www.ramsey-ehrlich.com

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From: Patrick Schmidt [mailto:patrickschmidt@quinnemanuel.com]
Sent: Tuesday, May 9, 2017 12:59 PM
To: Amy Craig <amy@ramsey-ehrlich.com>
Cc: Jordan Jaffe <jordanjaffe@quinnemanuel.com>; Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey
<izzy@ramsey-ehrlich.com>; QE-Waymo <qewaymo@quinnemanuel.com>; Neel Chatterjee
<NChatterjee@goodwinlaw.com>; Brett Schuman <BSchuman@goodwinlaw.com>; Rachel Walsh
<RWalsh@goodwinlaw.com>
Subject: RE: Levandowski Production


Amy/Miles,

I am writing in regards to the April 9th subpoena served on Anthony Levandowski. The last time we spoke, you advised
that you were expecting to make at least one additional document production and that you were going to try to
complete that production by last Tuesday (May 2nd). To date, we have received no additional document production,
and we have heard nothing further about our outstanding requests for production. Please provide, today, an update on
further document productions and an explanation for Mr. Levandowski’s continued failure to comply with the
subpoena. And also provide times you are available tomorrow to meet and confer. We reserve all rights, including
seeking order from Judge Alsup to show cause.

Patrick Schmidt
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213-443-3000 Main Office Number
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From: Amy Craig [mailto:amy@ramsey-ehrlich.com]
Sent: Wednesday, April 26, 2017 4:33 PM
To: Patrick Schmidt <patrickschmidt@quinnemanuel.com>
Cc: Jordan Jaffe <jordanjaffe@quinnemanuel.com>; Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey
<izzy@ramsey-ehrlich.com>; QE-Waymo <qewaymo@quinnemanuel.com>; Neel Chatterjee
<NChatterjee@goodwinlaw.com>; Brett Schuman <BSchuman@goodwinlaw.com>; Rachel Walsh
<RWalsh@goodwinlaw.com>
Subject: Re: Levandowski Production

Hi Patrick -

I'm traveling today, but am free tomorrow between 10 and 12 for a meet and confer.

Best regards,

Amy

Amy Craig
Ramsey & Ehrlich LLP
510-548-3600

Sent from my iPhone

On Apr 26, 2017, at 3:07 PM, Patrick Schmidt <patrickschmidt@quinnemanuel.com> wrote:

        Amy,

        Jordan asked that I respond to your message below.

        We understand from your message below that responsive, non-privileged documents remain
        unproduced. But, Mr. Levandowski was ordered to produce these documents at his deposition on
        Friday April 14th as the Court ordered on April 12th. His continued failure to comply with the subpoena
        and Court Order is highly prejudicial. Please advise when you are available to meet and confer today or
        tomorrow. When we confer, please be prepared to discuss the specific issues below:

               •   The process Mr. Levandowski and his counsel used to search for responsive documents,
                   including the sources searched and any search terms used
               •   The volume of documents searched thus far
               •   The volume of documents remaining to be searched
               •   The approximate volume of documents you expect to produce
               •   The timeline for completing the production

        We reserve all rights.


        Patrick Schmidt
        Associate
        Quinn Emanuel Urquhart & Sullivan, LLP
        865 S. Figueroa Street, 10th Floor
        Los Angeles, CA 90017
        213-443-3191 Direct
                                                            5
          Case 3:17-cv-00939-WHA Document 595-6 Filed 06/12/17 Page 7 of 10
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have received this communication in error, please notify us immediately by e-mail, and delete the original message.




From: Amy Craig [mailto:amy@ramsey-ehrlich.com]
Sent: Monday, April 24, 2017 9:30 PM
To: Jordan Jaffe <jordanjaffe@quinnemanuel.com>
Cc: Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey <izzy@ramsey-ehrlich.com>; QE-Waymo
<qewaymo@quinnemanuel.com>; Neel Chatterjee <NChatterjee@goodwinlaw.com>; Brett Schuman
<BSchuman@goodwinlaw.com>; Rachel Walsh <RWalsh@goodwinlaw.com>
Subject: Re: Levandowski Production

Jordan -

My apologies on the delay in the production getting to you. Apparently FedEx had a delivery issue (see
tracking screen shot below the text of this email). We will plan to send you any future productions
electronically in order to avoid delays going forward.

We are still in the process of reviewing Mr. Levandowski’s documents. We plan to produce all additional
documents that are responsive and not privileged under the Fifth Amendment or otherwise. We are moving
as quickly as we possibly can in reviewing all potentially responsive documents.




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Best regards,

Amy Craig
Ramsey & Ehrlich LLP
510-548-3600




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From: Amy Craig <amy@ramsey-ehrlich.com>
Date: Monday, April 24, 2017 at 1:14 PM
To: Jordan Jaffe <jordanjaffe@quinnemanuel.com>
Cc: Miles Ehrlich <miles@ramsey-ehrlich.com>, Ismail Ramsey <izzy@ramsey-ehrlich.com>, QE-Waymo
<qewaymo@quinnemanuel.com>, Neel Chatterjee <NChatterjee@goodwinlaw.com>, Brett Schuman
<BSchuman@goodwinlaw.com>, Rachel Walsh <RWalsh@goodwinlaw.com>
Subject: Re: Levandowski Production

Jordan -

I understand that FedEx had a delivery issue. I can look into that and provide you more detail. I'm in a
meeting off-site until the end of the day. I'll look into your questions when I return and get back to you.

Amy Craig
Ramsey & Ehrlich LLP
510-548-3600

On Apr 24, 2017, at 12:55 PM, Jordan Jaffe <jordanjaffe@quinnemanuel.com> wrote:

           Amy, we finally received the documents that were referenced in your emailed letter
           from April 19. As discussed below, we requested an electronic copy of these documents
           when we didn’t receive them the day after your emailed letter. We did not hear
           back. In fact, we only received these documents this morning after I called your firm to
           request them a second time.

           The Court ordered Mr. Levandowski to produce documents at his deposition, not
           after. Please explain Mr. Levandowski’s violation of the Court’s Order in this respect. As
           part of this explanation, please identify whether Mr. Levandowski intends to produce
           further documents, and if so when. Additionally, please explain the process that Mr.
           Levandowski and his counsel used to search for responsive documents, including the
           sources searched and any search terms used. Looking at LEV_000162, there appears to
           be a second document production number indicating upwards of 3.2 million pages of
           documents (3,272,370, to be exact). Is counsel for Mr. Levandowski in possession of
           millions of pages of documents from him and what percentage of those pages is Mr.
           Levandowski withholding under claims of privilege?

           We reserve all rights regarding Mr. Levandowski’s violations of the Court’s Orders.

           Best regards,

           Jordan R. Jaffe // Quinn Emanuel // 415.498.0556 // jordanjaffe@quinnemanuel.com


           From: Jordan Jaffe
           Sent: Thursday, April 20, 2017 7:02 PM
           To: Amy Craig <amy@ramsey-ehrlich.com>
           Cc: Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey <izzy@ramsey-
           ehrlich.com>; QE-Waymo <qewaymo@quinnemanuel.com>
           Subject: RE: Levandowski Production

           Amy,

           We’ve yet to receive this production. I just sent you a Send File message, which will
           allow you to upload the files to us electronically. Can you please do so as soon as
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 possible so that we can review them? We reserve all rights as to the timing and
 manner of the production.

 Best regards,

 Jordan R. Jaffe // Quinn Emanuel // 415.498.0556 // jordanjaffe@quinnemanuel.com


 From: Amy Craig [mailto:amy@ramsey-ehrlich.com]
 Sent: Wednesday, April 19, 2017 6:34 PM
 To: Jordan Jaffe <jordanjaffe@quinnemanuel.com>
 Cc: Miles Ehrlich <miles@ramsey-ehrlich.com>; Ismail Ramsey <izzy@ramsey-
 ehrlich.com>
 Subject: Levandowski Production

 Jordan –

 Please see the attached letter that is going out with our production of documents today.

 Best regards,

 Amy

 Amy E. Craig | Ramsey & Ehrlich LLP | 803 Hearst Avenue | Berkeley, CA
 94710 | Tel: (510) 548-3600 | Fax: (510) 291-3060 | amy@ramsey-ehrlich.com |
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